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                UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                               www.flsb.uscourts.gov
                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                 4th   Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                       Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)
DEBTOR: J a m e s M . S w a r t z    JOINT DEBTOR: T i f f a n y S w a r t z CASE NO.: 15-23941 BKC RBR
Last Four Digits of SS# 1303         Last Four Digits of SS# 2982

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of 60           months. In the event the trustee does not collect the full 10%, any portion
not collected will be paid to creditors pro-rata under the plan:
         A.       $ 217.56 for months          1 to      10 ;
         B.       $ 293.81 for months 11 to              47 ;
         C.       $ 452.78 for months 48 to              59 ;
         D.       $ 534.25 for months 60 to              60 ; in order to pay the following creditors:

Administrative: Attorney's Fee - $ 2,625.00 Fees + 150.00 Costs TOTAL PAID $ 1,090.00
                Balance Due $ 1,685.00 payable $ 197.78 /month (Months 1 to 5 )
                                         payable $ 139.22 /month (Months 6 to 10 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1.                                                       Total Payoff $
                                                         Payoff Payment    $          /month (Months        to 60 )

Account No:
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

     Secured Creditor        Description of Collateral     Interest   Plan Payments          Months of Payment      Total Plan Payments
                             and Value of Collateral        Rate




Priority Creditors: [as defined in 11 U.S.C. §507]

1.                                   Total Due $
                                     Payable $                  /month (Months        to      ) Regular Payment $

Unsecured Creditors: Pay $ 58.56 /month (Months 6 to 10 ), Pay $ 267.10 /month (Months 11 to                             47 ),
Pay $ 411.62 /month (Months 48 to 59 ), Pay $ 485.68 /month (Months 60 to 60 ).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: The debtors will pay Bank of America (Homestead, 1st Mtg, Account #6250), Broward County
Records, Taxes and Treasury Division, and Syncb/City Furniture (Home Furnishings, Account #0336) direct and outside the Chapter
13 Plan.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
       /s/                                                                             /s/
Debtor                                                                    Joint Debtor
Date: 12/15/2015                                                          Date: 12/15/2015




LF-31 (rev. 01/08/10)
